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FILED

IN THE UNITED STATES DISTRICT COURT Are 30 2019
FOR THE WESTERN DISTRICT OF PENNSYLVANIA :

CLERK U.S, DISTRICT COURT
WEST, DIST. OF PENNSYLVANIA,

[F-12e

ERIC ALLARD [UNDER SEAL]
y eT

UNITED STATES OF AMERICA

Vv. , Criminal No.

INDICTMENT MEMORANDUM

AND NOW comes the United States of America, by its attorneys, Scott W. Brady,
United States Attorney for the Western District of Pennsylvania, and Mark V. Gurzo, Assistant
United States Attorney for said District, and submits this Indictment Memorandum to the Court:

I. THE INDICTMENT

A federal grand jury returned a one-count indictment against the above-named

defendant for an alleged violation of federal law:

COUNT OFFENSE/DATE TITLE/SECTION
1 Possession of Material Depicting the Sexual 18 U.S.C. §§ 2252(a)(4)(B)
Exploitation of a Minor and 2252(b)(2)

On or about November 27, 2017

Il. ELEMENTS OF THE OFFENSE

A. As to Count One:
In order for the crime of Possession of Material Depicting the Sexual Exploitation
of a Minor, in violation of 18 U.S.C. §§ 2252(a)(4)(B) and 2252(b)(2), to be established, the

government must prove all of the following essential elements beyond a reasonable doubt:
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1. That the defendant knowingly possessed one or more items which contained
a visual depiction of a minor engaging in sexually explicit conduct.

Title 18, United States Code, Section 2252(a)(4)(B).

2. That the item which contained the visual depiction had been mailed,
transported or shipped in interstate commerce, or had been produced using materials which had
been mailed or transported or shipped in interstate commerce.

Title 18, United States Code, Section 2252(a)(4)(B).

3. That the production of the visual depiction involved the use of a minor
engaging in sexually explicit conduct, as those terms are defined in Title 18, United States Code,
Section 2256.

Title 18, United States Code, Section 2252(a)(4)(B).

4. That the images involved prepubescent minors or minors who have not
attained 12 years of age.

Title 18, United States Code, Section 2252(b)(2).
Il. PENALTIES

A. As to Count One: Possession of Material Depicting the Sexual
Exploitation of a Minor (18 U.S.C. §§ 2252(a)(4)(B) and 2252(b)(2)):

1. Imprisonment of not more than ten (10) years, but if any image of child
pornography involved in the offense involved a prepubescent minor or a minor who had not
attained 12 years of age, the defendant shall be fined under this title and imprisoned for not more
than 20 years, or if the defendant has a prior conviction (Title 18, United States Code, Chapter
110, Chapter 71, Chapter 109A, Chapter 117 or under Section 920 of Title 10) or under the laws

of any state relating to aggravated sexual abuse, sexual abuse, or abusive sexual conduct involving
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a minor or ward, or the production, possession, receipt, mailing, sale, distribution, shipment, or
transportation of child pornography, such person shall be fined under this title and imprisoned not
less than 10 years nor more than 20 years.

2. A fine of $250,000.00 (18 U.S.C. §3571(b)(3)).

3. A term of supervised release of at least 5 years, up to life (18 U.S.C.
§3583(k)).

4. Any or all of the above.

IV. MANDATORY SPECIAL ASSESSMENT

A mandatory special assessment of $100.00 must be imposed at each count upon
which the defendant is convicted, pursuant to 18 U.S.C. § 3013.

With respect to Count One of the Indictment, an additional special assessment of
$5,000.00 must be imposed as the offense was committed after May 29, 2015 and the offense is
located within Chapter’110 of Title 18, United States Code. 18 U.S.C. § 3014(a).

V. RESTITUTION

Restitution may be required in this case as to Count One, together with any
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authorized penalty, as part of the defendant's sentence pursuant to 18 U.S.C. §§ 3663, 3663A, and

3664.
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VI. FORFEITURE

As set forth in the Indictment, forfeiture may be applicable in this case.

Respectfully submitted,

SCOTT W. BRADY
United States Attorney

MARK V. GURZO,
Assistant U.S. Attorney
MD ID No. 20794

